
PER CURIAM.
By petition and cross-petition for a writ of certiorari we have for review an order of the Florida Industrial Commission bearing date 27 August 1965.
We find that oral argument would serve no useful purpose and it is therefore dispensed with pursuant to Florida Appellate Rule 3.10, subd. e, 31 F.S.A.
Our consideration of the petition and cross-petition, the record and briefs leads us to conclude that there has been no deviation from the essential requirements of law.
The petition and cross-petition are therefore denied. • -
The request of petitioner for attorney’s fees is denied. The request of cross-respondent for attorney’s fees is granted and a fee of $100 is awarded.
THOMAS, Acting C. J., and ROBERTS, DREW, O’CONNELL and CALDWELL, JJ., concur.
